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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________________
SUZANNE FILLORAMO                           )                   CIVIL ACTION
     Plaintiff                              )
                                            )
v.                                          )
                                            )
                                            )                    JURY TRIAL CLAIMED
PORTFOLIO RECOVERY ASSOCIATES, LLC          )
     Defendant                              )
___________________________________________ )                   FEBRUARY 29, 2012


                                       COMPLAINT

       1. This is a suit brought by a consumer for violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227 et seq. and includes pendent State claims for violation of

the Connecticut Unfair Trade Practices Act (“CUTPA”), Conn. Gen. Stat. § 42-110g et

seq., the Connecticut Creditor Collection Practices Act (“CCPA”), Conn. Gen. Stat §

36a-645 et seq., and for intentional infliction of emotional distress.

       2. Plaintiff, Suzanne Filloramo, is a natural person residing in East Hartford,

Connecticut and is a “consumer” within the meaning of 15 U.S.C. 1692a(3) and a

“consumer debtor” within the meaning of Conn. Gen. Stat § 36a-645(1).

       3. Defendant, Portfolio Recovery Associates, LLC (“Portfolio”), is a Virginia

company that purchases accounts receivable and debts from creditors and is a

“creditor” as defined by 15 U.S.C 1692a and Conn. Gen. Stat § 36a-645(2).
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        4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 15

U.S.C. § 1681p, 28 U.S.C. §§ 1331 and 1337; supplemental jurisdiction is proper

pursuant to 28 U.S.C § 1367.

        5. This Court has jurisdiction over Portfolio because it engages in business

activities within Connecticut.

        6. Venue in this Court is proper, as the Plaintiff is a resident of Connecticut and

the acts complained of occurred in this state.

        7. On or around April 2011, Patricia Ribordy (“Patricia”), a Portfolio

representative, contacted Plaintiff’s cell phone through the use of an automatic dialing

system and/or prerecorded voice.

        8. Patricia told Plaintiff that Portfolio had acquired ownership of Plaintiff’s

account with Hannoush Jewelers and attempted to collect on the account.

        9. Patricia told Plaintiff that the balance on the account was $3,373.83.

        10. Unbeknownst to Plaintiff, the account that Portfolio had acquired from

Hannoush had been fraudulently opened by a third party in her name.

        11. At the time of this call, Plaintiff had an open account with Hannoush, which

account had a number ending in 8614 (the “8614 account”), and Plaintiff believed that

Patricia was calling in reference to the 8614 account.

        12. Plaintiff explained to Patricia that she could not pay the entire balance and

offered to make a payment of $300. Plaintiff also authorized a monthly, automatic debit

in the amount of $267.39 to be withdrawn on the 15th of each month, beginning in May

2011.

        13. Portfolio debited Plaintiff’s account for the $300.



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      14. On or around May 10, 2011, Plaintiff received a call from Hannoush

requesting payment on the 8614 account.

      15. Plaintiff explained to the representative that she had paid $300 in April 2011

and had enrolled in automatic monthly payments.

      16. The Hannoush representative informed Plaintiff that Hannoush had not

received any payments for the 8614 account. She then looked into the company

computer system and told Plaintiff that the company records showed that she had four

accounts with Hannoush.

      17. Subsequently, on or around May 10, Plaintiff called Portfolio and spoke with a

representative who transferred her call to another representative who identified herself

as Kim.

      18. Plaintiff told Kim that the account that she had paid on was not legitimately

owed by her and that she had mistakenly believed that Portfolio had been collecting on

the 8614 account.

      19. Kim provided Plaintiff with the account number of the account Portfolio had

been referencing. That account number ended in 1818 (the “1818 account”).

      20. Plaintiff requested that Portfolio provide her with verification of the debt and a

description of the items that were purchased with the account.

      21. Plaintiff also requested that the automatic monthly payment plan be

cancelled. Kim informed Plaintiff that she thought there should be enough time to

cancel the May 2011 payment, but she told her that she would have to call back each

month to cancel the payment.




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       22. Plaintiff also requested return of the $300 payment, but the funds were never

returned to her.

       23. On or around May 31, 2011, a representative of Portfolio called Plaintiff’s

father from the number 866-691-3568 through the use of an automatic dialing system

and/or prerecorded voice. The representative identified himself as Mr. Duke.

       24. Mr. Duke told Plaintiff’s father that Plaintiff had taken out a personal loan from

him for $3,500 and that she had only paid $300 back.

       25. Prior to the call from Mr. Duke, Plaintiff’s father was not aware of Plaintiff’s

situation with respect to the Hannoush account.

       26. Portfolio’s conduct as described above caused Plaintiff severe emotional

distress.

       27. On or around June 28, 2011, Plaintiff spoke with a Portfolio representative by

telephone. During that call, Plaintiff told Portfolio that the number that it had been

calling was Plaintiff’s cell phone number, and requested that Portfolio cease contacting

her cell phone number.

       28. Notwithstanding her request, a Portfolio representative who identified himself

as “Mr. Rowland” contacted Plaintiff’s cell phone through the use of an automatic dialing

system and/or prerecorded voice on July 20, 2011 and July 21, 2011.

       29. On July 26, 2011, Plaintiff sent a letter via certified mail, return receipt

requested to Portfolio requesting that it stop contacting her cell phone.

       30. Notwithstanding Plaintiff’s written request, Portfolio placed one or more

additional calls to Plaintiff’s cell phone through the use of an automatic dialing system




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and/or prerecorded voice, including one call on or around July 28, 2011 in which Mr.

Rowland left a message on Plaintiff’s voicemail.

       31. As a result of the aforementioned conduct of Portfolio, Plaintiff has suffered

an ascertainable loss, including, but not limited to, the $300 payment she made to the

1818 account.

       32. Portfolio knew, or reasonably should have known, that the above-described

conduct would likely cause emotional distress to Plaintiff.

       33. Portfolio’s conduct did cause Plaintiff to suffer emotional distress,

embarrassment, shame, stress and anxiety.

       34. Portfolio’s actions were willful, wanton and malicious, in that they intended to

cause Plaintiff distress to induce Plaintiff to pay the debt, in hopes that Plaintiff would

pay in order to relieve the stress.

       35. Portfolio has violated the FDCPA, CCPA, TCPA, and CUTPA and is liable for

intentional infliction of emotional distress.




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WHEREFORE, Plaintiff prays for the following relief:

Monetary damages related to Plaintiff’s emotional distress; Actual damages, statutory
damages, and attorney’s fees and costs pursuant to 15 U.S.C. § 1692k, actual
damages, punitive damages, and attorney’s fees pursuant to Conn. Gen. Stat. § 42-
110g, Actual damages, statutory damages, and attorney’s fees and costs pursuant to
Public Act No. 07-176, statutory damages pursuant to 47 U.S.C. § 227(b)(3) and such
other relief as this Court deems appropriate.


                                    PLAINTIFF, SUZANNE FILLORAMO



                                     By: __/s/ Daniel S. Blinn________
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